Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 1 of 19 PagelD 93

Attachment Al
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 2 of 19 PagelD 94

To:

From:

Re:

(| cory

Office of Randy Fine

State of Florida

Randy-Fine: Trustee of the Social Security Cestui que Trust
COLBY ALEXANDER FRANK and d/b/a RANDY FINE Florida State Representative, a
taxpayer"

Office of Randy Fine

State of Florida

Suite 5

2539 Palm Bay Road Northeast

Palm Bay, FL 32905-3534

Colby-Alexander: Family of Frank, beneficiary, Trustor, and Secured-party to the Social Security
Cestui que Trust account COLBY ALEXANDER FRANK

Without prejudice

Po Box 13264

Fort Pierce, Fl

[34979]

941-275-5712 .
Poot Ole

COMPLETION OF SERVICE BY JON-EUGENE-VENADEO IT: .

¢ *T Ze ( | t A lo V
FEDERAL SLANDER AND CIVIL RIGHTS LAWSUIT: P BCSO
the facts of the Conditional Agreement herein attached and prepared and served in

accordance to proper service process: are conditionally accepted by me with the following

conditions:
1 officially offer a conditional acceptance. In accordance with the proper service process.

Be it known the conditional acceptance of my offer through a service processor to yourself
directly or an authorized agent thereof establishes common law contract between us under the
general principle acceptance communicated to the offeror of the postal rule’ Which states:

The postal rule’ also known as the "mailbox rule" or "deposited acceptance rule") is a term of common law contract which determines the
timing of acceptance of an offer when mail is contemplated “as the medium of acceptance” the general principle is that a contract is formed
when an acceptance is actually communicated to the offeror. The mailbox rule is an exception to the general principle. The “mail box rule”
provides that the contract is formed when a properly pre-paid and properly addressed letter of acceptance is posted. One rationale given for the
rule is that the offeror nominates the post office as applied agent and thus the receipt of acceptance by the post office is regarded as that of the
offeree. The main effect of the “mail box rule” is that the risk of acceptance being delivered late or lost in the post is placed on upon the offeror.
If the offeror is reluctant in accepting this risk, he can always require actual receipt before being legally bound by law.

CONDITIONAL ACCEPTANCE of engagement in this federal lawsuit:

Federal lawsuit attached herein provided and served with evidence attachments to:
Randy-Fine: d/b/a Trustee of the Social Security Cestui que Trust

COLBY ALEXANDER FRANK and d/b/a RANDY FINE Florida State Representative, a
taxpayer*

Office of Randy Fine

State of Florida
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 3 of 19 PagelID 95

Suite 5 C or
2539 Palm Bay Road Northeast (\ tise

Palm Bay, FL 32905-3534

Conditional Acceptance of Your Offer
Conditions:

As Trustor Settlor to the Trust COLBY ALEXANDER FRANK, I offer you the attached federal
lawsuit with evidence provided.

You have 30 days from the date herein to provide a response to myself and the court.

If on the other hand you do not respond in the time allotted, 30 days from the date herein to
myself the man and the clerk of the court, and no written request for an extension of time
providing you an additional 30 days is received by either myself or the court you hereby contract
to the following.

A motion for summary judgment will be filed for the full amount demanded within the lawsuit
and a writ of quo warranto will be requested against you.

Be it known the service process acceptance of my offer establishes common law contract.
Between us under the postal rule Which states:

The postal rule also known as the "mailbox rule" or "deposited acceptance rule") is a term of common law contract which determines the
timing of acceptance of an offer when mail is contemplated “as the medium of acceptance” the general principle is that a contract is formed
when an acceptance is actually communicated to the offeror. The mailbox rule is an exception to the general principle. The “mail box rule”
provides that the contract is formed when a properly pre-paid and properly addressed letter of acceptance is posted. One rationale given for the
tule is that the offeror nominates the post office as applied agent and thus the receipt of acceptance by the post office is regarded as that of the
offeree. The main effect of the “mail box rule” is that the risk of acceptance being delivered late or lost in the post is placed on upon the offeror.
If the offeror is reluctant in accepting this risk, he can always require actual receipt before being legally bound by law.

A wet signed copy of the “Frank v. Fine” is attached.

With Honorable Intent,

Authorized Representative

Footnote 1: TRUSTOR. One who creates a trust. Also called settlor. Ulmer v. Fulton, 129 Ohio St, 323, 195N.E, 557, 564, 97 A.L.R. 1170.
Footnote 2; BENEFICIARY. One for whose benefit a trust is created; a Cestui que Trust®. 195 N.E. 557, 564, 97A.L.R. 1170. A person having
the enjoyment of property of which a trustee, executor, etc., has the legal possession. The person to whom a policy of insurance is payable. Parrott
Estate Co. v. McLaughlin. D.C. Cal., 12 F. Supp. 23, 25; Odom v. Prudential Ins. Co. of America, 173 Or. 435, 145P.2d 480, 482. One receiving
benefit or advantage, or one who is in receipt of benefits, profits, or advantage. Bauer v. Myers, C.C.A. Kan., 244 F. 902,908. For "Favored
Beneficiary," see that title.

Footnote 3: TRUSTEE. The person appointed, or required by law, to execute a trust; one in whom an estate, interest, or power is vested, under an
express or implied agreement to administer or exercise It for the benefit or to the use of another called the Cestui que Trust®. Pioneer Mining Co.
v. Ty-berg, C.C.A. Alaska, 215 F. 501, 506, L-R.A.1915B,442; Kaehn v. St. Paul Co-op. Ass'n, 156 Minn. 113,194 N.W. 112; Catlett v.
Hawthorne, 157 Va, 372,161 S.E. 47, 48. Person who holds title to res and administers it for others' benefit. Reinecke v. Smith, IIl., 53 S.Ct. 570,
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 4 of 19 PagelD 96

or
289 U.S. 172, 77 L. Ed. 1109.In a strict sense, a "trustee" is one'who holds the legal title to property for the of another, while, in abroad
sense, the term is sometimes applied to anyone standing In a fiduciary or confidential relation to another, such as-agent, attorney, bailee, etc. State
ex rel. Lee v. Sartorius, 344 Mo. 912, 130 8.W.2d 547, 549, 550."Trustee" is also used in a wide and perhaps inaccurate sense, to denote that a
person has the duty of carrying out a transaction, in which he and another person are interest-ed, in such manner as will be most for the benefit of
the latter, and not in such a way that he himself might be tempted, for the sake of his personal advantage, to neglect the interests of the other. In
this sense, directors of companies are said to be "trustees for the shareholders." Sweet. Trustees is plural for Trustee. Trustee’s can imply “Trustee
is".
defines “
Footnote 4: TAXPAYER. Section 7701(a)(14) defines “taxpayer” as “any person” subject to any internal revenue tax, and section 7701(a)(1)
person” to include an individual, trust, estate, partnership, or corporation.
Footnote 5: The postal rule also known as the "mailbox rule" or "deposited acceptance rule") is a term of common law contract which
determines the timing of acceptance of an offer when mail is contemplated “as the medium of acceptance” the general principle is that a
contract is formed when an acceptance is actually communicated to the offeror. The mailbox rule is an exception to the general principle. The
“mail box rule” provides that the contract is formed when a properly pre-paid and properly addressed letter of acceptance is posted. One
rationale given for the rule is that the offeror nominates the post office as applied agent and thus the receipt of acceptance by the post office is
regarded as that of the offeree. The main effect of the “mail box rule” is that the risk of acceptance being delivered late or lost in the post is
placed on upon the offeror. If the offeror is reluctant in accepting this risk he can always require actual receipt before being legally bound by law.
Footnote 6: Cestui que Trust®. The person for whose benefit a trust is created or who is to enjoy the income or the avails of it.

is enfeoffed or seised of land or tenements, or is possessed of personal property. The cestui que trust is entitled to receive the rents and profits of
the land; he may direct such conveyances, consistent with the trust, deed or will, as he shall choose, and the trustee (q.v.) is bound to execute
them: he may defend his title in the name of the trustee. | Cruise, Dig. tit. 12, ¢. 4, s. 4; vide Vin. Ab. Trust, U, W, X, and Y 1 Vern. 14; Dane's
Ab. Index, h.t.: 1 Story, Eg. Jur. Sec. 321, note 1; Bouv. Inst, Index, h.t. “Cestui que Trust®.” Merriam-Webster.com Legal Dictionary,
Merriam-Webster, https://www.merriam-webster.convlegal/cestui%20que%20trust. Accessed 3 Oct. 2022.

“ (E)very taxpayer is a Cestui que Trust having sufficient interest in preventing abuse of the Trust to be recognized in the field of this court’s
prerogative jurisdiction as a realtor in the proceedings to set sovereign authority in motion by action___.” In re Bolens 135, N.W. Rep. 164

(1912) Supreme Court of Wisconsin

“A Public official is a fiduciary toward the public, including in the case of a judge, the litigants that appear before him and if he deliberately
conceals material information from them he is guilty of fraud“ United States v. Holzer 816 F.2d 304, 307(1987) Public officers are the
“Trustees(s) and servant(s) of the people.” Georgia Department of Human Resources v. Sistrunk 291 S.E. 2d 524, 536(1982) “Public Office” is a
public trust or agency for the benefit of the people to be administered under legislative control in the interest of the people State ex rel Nagle v.
Sullivan 45 F.2d 993, 997, Supreme Court of Montana( 1935).
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 5 of 19 PagelD 97

UNITED STATES,
JE POSTAL SERVICE.

FORT PIERCE

5000 W MIDWAY RO
FORT PIERCE. FL 34981-9998

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Product aty betes .
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Weight: O ib 10.50 02
Estimated Delivery Date
Mon 11/06/2023 94.25
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Hae weasel Sos pasa,

Mery AVEO Eran

Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 7 of 19 PagelID 99

AFFIDAVIT OF SERVICE

County of SE Lvat
Stateof_ E lor iden

Date: “YO teember a 20 2.3

I. SERVER. |, bof Ay #¢rank (“Server”), declare under penalty of perjury that
the following documents were delivered and served in the following manner:

ll. DOCUMENTS. The documents served are described as:Lomplaint, oo vl donde.
OP-er of Gnditions)! Alcepfant
lil. RECIPIENT. The above-mentioned documents were delivered to: CGommen law CZontroet
a.) Defendant/Respondent: Rody E (re. (“Recipient”)
b.) Address/Location:<viteS 2534 Palm Boy 2td VE palm Boys Ft, 3290S”

c.) Date: Yoyvember A, 2023 Time: Q : /7 CAM IPM

IV. DELIVERY. The Recipient received the documents by: (check one)

vf. Mail. The Server sent the documents in the mail by: (check all that apply)

CL] - Standard Mail

C1 / Electronic Mail (E-Mail)

- Certified Mail (with return receipt)

OC] - FedEx

CJ-UPS

QC - Other
CL) - Direct Service. The Server handed the documents to a person identified as
the Recipient.

OO - Someone at the Residence. The Server handed the documents to someone
who identified as living at the residence and stated their name is:

Ci - Someone at the Workplace. The Server handed the documents to someone
who identified to be the Recipient’s co-worker and stated their name is:

O - Leaving at the Residence. The Server left the documents in the following
area: .

O - Recipient Rejected Delivery. The Server delivered the documents to the
Recipient in-person and did not accept delivery.

O - Other.

V. VERIFICATION. | declare under penalty of perjury under the laws located in this
State that the foregoing is true and correct.

a

beaeb ay | PCB
Server’s Signature: life 39% Of Prevulacate: [ ( L 2G4/ZO2F
Print Name: Co [bop = A: Eran .

6 Page 1 of 1

Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 8 of 19 PageID 100

eo. _ % bls.gov/ooh/architecture-and-engineering/aerospace-engineers.htm C | GP £&

Sela nase cio elon nbeanenean anc unger epee aan nb rete need foresee secre pm ss ee econ ene Sched ater ee a tee ro ert eee ee cic putea er dee lt tatoo

$126,880 per year
$61.00 per hour

Bachelor's degree

None

None

63,8600

6% (Faster than average)

13,900

11

Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 9 of 19 PagelD 101
(24/23, 12:00 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

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Aerospace Engineer Salaries

Overview Salaries Interviews Insights Career Path

How much does an Aerospace Engineer make?
Updated Nov 19, 2023

Experience

0-1 Years Vv
Industry

Aerospace & Defense v
D confident
Total Pay Range $72K ™ $126K.,
Base Pay $64K - $112K/yr
Additional Pay $8K - $14K/yr

$95KAyr
v
$72K $126K
Most Likely Range

The estimated total pay for a Aerospace Engineer is $94,738 per year in the United States area, with
an average salary of $84,708 per year. These numbers represent the median, which is the midpoint of
the ranges from our proprietary Total Pay Estimate model and based on salaries collected from our
users. The estimated additional pay is $10,030 per year. Additional pay could include cash bonus,
commission, tips, and profit sharing. The "Most Likely Range" represents values that exist within the
25th and 75th percentile of all pay data available for this role.

How accurate is this most likely Total Pay range (base + additional) of $72K-$126K/yr?

https:/Avww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KO0,18.htm

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Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 10 of 19 PageID 102

11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor
f
I
| xy Low | | © Accurate | | 4} High
i t i }
Total Pay Trajectory
For Aerospace Engineer in the Aerospace & Defense industry
6 $94,738 /yr
_ Aerospace Engineer
4 $145,205 /yr
Senior Aerospace Engineer
5 $132,060 /yr

Lead Aerospace Engineer

See Full Career Path >

Download as data table

Top Paying Companies

For an Aerospace Engineer in United States

Below is the total pay for the top 10 highest paying companies for an Aerospace Engineer in United
States. Employers include Intuitive Machines, Amazon and SpaceX.

i

_ Intuitive Machines | . Amazon
i
$184,878/r $176,916/yr
15 open jobs 14K open jobs

See pay for all companies for an Aerospace Engineer in United States
View data as table

https:/Awww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KOO,18.htm 2/14
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 11 of 19 PagelD 103
11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

What are total pay estimates for an Aerospace Engineer at different
companies?

City or Metro Area | Search

Search

)
Search by employer | |

Sort: | Popular Y |

NASA
45%

Aerospace Engineer ©

See 247 salaries from all locations

659 open jobs
$125,370 /yr
wa
$101K S155K
Boeing
3.9 *

Aerospace Engineer @

See 157 salaries from all locations
1,735 open jobs

$123,215 /yr

wv

$97K $157K

Naval Air Systems Command
3.7 *

Aerospace Engineer ©

See 132 salaries from all locations
5 open jobs

https:/Avww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KOO,18.htm 3/11
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 12 of 19 PagelD 104

11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor
$121,609
ww Fe
$97K $152K
\ US Air Force
EA PORe 4.1%

Aerospace Engineer ©

See 120 salaries from all locations
624 open jobs

$109,573 /yr

Ww

$87K $139K

, Lockheed Martin
atl 41 *

Aerospace Engineer @

See 80 salaries from all locations
5,941 open jobs

$121,509 / yr

wv

$96K $154K

US Navy
3.7 *
Aerospace Engineer @

See 66 salaries from all locations
41 open jobs

$111,836 / yr

Ww

$88K $142K

= Northrop Grumman
ark

https:/Awww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KO0,18.htm

4/14
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 13 of 19 PagelD 105
11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

Aerospace Engineer ©

See 63 salaries from all locations
2,750 open jobs

$124,810 / yr

Ww

$99K $158K

Is this salary info helpful?
Let's pay it forward! The Glassdoor community relies on people like you to share accurate salary
info to promote fair compensation everywhere

Share Salary Anonymously

FAA
3.9 *

Aerospace Engineer @

See 49 salaries from all locations
110 open jobs

$120,000 / yr

Ww

$96K $150K

i NAWC
3.8 *

Aerospace Engineer ©

See 48 salaries from all locations

$125,999 /yr

wv

$101K $158K

https:/Avww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KOO,18.htm

5/11
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 14 of 19 PagelD 106
11/24/23, 42:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

Aerospace Engineer @

See 41 salaries from all locations

1,063 open jobs
$176,762 /yr
wv
$138K $228K
Dynetics
3.6 *
Aerospace Engineer @
See 41 salaries from all locations
110 open jobs
$111,836 /yr
w
$90K $140K
Blue Origin
°
3.5 *
Aerospace Engineer ®
See 36 salaries from all locations
211 open jobs
$115,647 / yr
wv
$91K $147K

US Department of Defense
4*

Aerospace Engineer @

See 30 salaries from all locations
609 open jobs

$113,655 /yr

Ww

https://www.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KOO,18.htm

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Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 15 of 19 PagelD 107

11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

i

ACHOTES

$89K $146K
US Army
3.8 *
Aerospace Engineer ®
See 27 salaries from all locations
1,600 open jobs
$108,948 /yr
vy
$86K $137K
Jacobs
ak
Aerospace Engineer @
See 24 salaries from all locations
3,710 open jobs
$96,780 / yr
Ww
$78K $120K
United Launch Alliance
3.8 *
Aerospace Engineer ®
See 24 salaries from all locations
100 open jobs
$121,245 /yr
Ww
$97K $153K
AeroTEC
3.7 %*

Aerospace Engineer @

See 23 salaries from all locations

https:/Avww.glassdoor. com/Salaries/aerospace-engineer-salary-SRCH_KO0O,18.htm

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Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 16 of 19 PagelD 108

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Bek Soopalnten Ladesretea
Sire Ne Teena

Lac calt

* laidos

7 open jobs
$108,736 /yr
wy
$87K $137K
NASA Jet Propulsion Laboratory
44 *%
Aerospace Engineer ©
See 22 salaries from all locations
10 open jobs
$127,859 / yr
wy
$102K $160K
Honeywell
4*
Aerospace Engineer ©
See 15 salaries from all locations
2,863 open jobs
$126,883 / yr
v
$105K $154K
Leidos
3.8 *
Aerospace Engineer ©
See 14 salaries from all locations
3,156 open jobs
$112,252/yr
Vv
$88K $143K

https:/Awww.glassdoor.com/Salaries/aerospace-engineer-salary-SRCH_KOO,18.htm

8/14
Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 17 of 19 PagelD 109
Salary: Aerospace Engineer in United States 2023 | Glassdoor

11/24/23, 12:01 PM

Download as data table

Top Paying Industries

For an Aerospace Engineer in United States

Viewing 1 - 20 of 720

The top 5 paying industries for an Aerospace Engineer in United States are Transportation & Logistics
with a median total pay of $146,617, Human Resources & Staffing with a median total pay of
$125,343, Government & Public Administration with a median total pay of $120,593, Aerospace &
Defense with a median total pay of $116,893, and Information Technology with a median total pay of

$115,023.
Industry Total Pay Total Pay Insight
Transportation & Logistics $146,617 20% Higher than Aerospace & Defense
Human Resources & Staffing $125,343 6% Higher than Aerospace & Defense
a a & Public Administration $120,593 3% Higher than Aerospace & Defense -
| pe & Defense $116,893 Aerospace & Defense is a top paying industry
Information Technology $115,023 2% Lower than Aerospace & Defense

Glassdoor Economist Pay Overview

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Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 18 of 19 PagelD 110
11/24/23, 12:01 PM Salary: Aerospace Engineer in United States 2023 | Glassdoor

What is the pay outlook for Engineering?

Engineering jobs are in high demand with workers receiving generous compensation packages and
bonuses. Engineering offers ample opportunity for growth and development with transferable skills
across an array of fields from software, supply chain and logistics to aerospace. Most roles require at
least a bachelor’s degree. To remain competitive, job-seekers should consider specialization or skill-
specific programs such as coding boot-camps or certifications.

Aerospace Engineer pay FAQ

How much does an Aerospace Engineer in United States make? Vv
What is the highest salary for an Aerospace Engineer in United States? Vv
What is the lowest salary for an Aerospace Engineer in United States? Vv
What is the an Aerospace Engineer career path and salary trajectory? Vv
What is the Salary Trend for Aerospace Engineers? Vv
Do Aerospace Engineers Make Good Money in United States? Vv
How Much Does an Aerospace Engineer Make Over Time in United States? Vv
How to Make More Money as an Aerospace Engineer : Vv
How to Negotiate a Higher Salary as an Aerospace Engineer Vv

Additional Resources
Aerospace Engineer Job Description Template

Salaries

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Case 6:23-cv-02043-JSS-RMN Document 10-1 Filed 12/01/23 Page 19 of 19 PageID 111
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aerospace engineer

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My Information

Cookie Consent Tool

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